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                                          THE CITY OF NEW YORK
JAMES E. JOHNSON                         LAW DEPARTMENT                                         STEPHANIE DE ANGELIS
Corporation Counsel                             100 CHURCH STREET                               Assistant Corporation Counsel
                                                NEW YORK, NY 10007                                     phone: (212) 356-3513
                                                                                                          fax: (212) 356-3509
                                                                                                email: sdeangel@law.nyc.gov




                                                                            June 12, 2020

        BY ECF
        Honorable Analisa Torres
        United States District Court Judge
        United States District Court
        Southern District of New York
        500 Pearl Street
        New York, New York 10007
                       Re: Luis A. Herrera v. City of New York, et al.
                           19 CV 3216 (AT) (SDA)
        Your Honor:

                       I am the attorney in the Office of James E. Johnson, Corporation Counsel of the
        City of New York, assigned to the defense of the above referenced matter. I respectfully write to
        advise Your Honor that the above referenced action has settled and as such we request that all
        conferences and deadlines be cancelled. The Stipulation of Settlement and Order of Dismissal
        will be submitted to the Court as soon as the circumstances permit.

                       Defendants thank the Court for its time and attention to this matter.

                                                                     Respectfully submitted,

                                                                     Stephanie       De        Angelis          /s
                                                                     Stephanie De Angelis
                                                                     Assistant Corporation Counsel
                                                                     Special Federal Litigation Division
        cc:      By Email
                 Luis A. Herrera
                 Plaintiff Pro Se
                 794 Snediker Avenue
                 Apt. 2F
                 Brooklyn, NY 11207
